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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )         4:01CR148
                                           )
                   Plaintiff,              )
                                           )
      vs.                                  )
                                           )         ORDER
DARRELL W. MILLER,                         )
                                           )
                   Defendant.              )

      On the court’s own motion,

      IT IS ORDERED that Defendant Miller’s revocation hearing is rescheduled to 1:15
p.m. on Tuesday, May 8, 2007, before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      April 20, 2007.                   BY THE COURT:

                                        s/ Richard G. Kopf
                                        United States District Judge
